        Case 3:16-cr-00262-BTM                   Document 228                Filed 11/30/16            PageID.1525               Page 1 of 1
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                                             UNITED STATES DISTRICT COUR             NOV 30 2016
                                           SOUTHERN DISTRICT OF CALIFO.n.l~lue'- ERK c ' ~' " " . ' " ..~ ;~
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                                                                                                                  BY                                    : j .~ V, ' - Y
    UNITED STATES OF AMERICA,                                                                          ---- .                               -- --. -- -. -
                                                                                    Case No. 16crQ262-BTM

                                                          Plaintiff,
                                 vs.
                                                                                    JUDGMENT OF DISMISSAL
    Pawel Wlodarczyk,
                                                       Defendant.



    IT APPEARING that the- defendant is now entitled to be discharged for the reason that:

         an indictment has been tiled in another case against the defendant and the Coqrt has
    o    granted the motion of the Government for dismissal of this case, without preJudice; or
    o    the Court has dismissed the case for unnecessary delay; or

         the Court has granted the motion of the Government for dismissal, with pt~judice; or

    o    the Court has granted the motion of the defendant for a judgment of acquittal; or

    o    a jury has been waived, and the Court has found the defendant not guilty; or

    o    the jury haS returned its verdict, finding the defendant not guilty;

         of the offense(s) as charged in the Indictmentiinforma.tion:
         18:371; $: 1324(b). 18:982(a)(6), 28:2461(':) - Conspil1lC)l; Crim,ina! Forfeiture(I); 111:371; 18:982(8)(6), 28:246I(t) - Conspi(llCy to Bring In
         Certain A1i~ Criminal FfirfeituRl(h};8:I324(a)(2)(B)(U)' 18:2; 8:1324(b). 18:982(8)(6). 28:246I(e) - AtteiDple<\ 10 Bring in Certain
         A1ieD~ for Financial~; Criminal Forf~ture (2-9);8:1324(a)(2)(B)(ii); 18:2; 18~2(a)(6). 28:7461(0) - Bringing in Certain Aliens for
         Finan<:ia1 Gllin; Aidlni and Abcttillg; CriDlitJal Forfeiture (25-95); 8:1327; 18:2; 18;982(a)(6). 28:2461 (e) - C"nniving and Conspiring \0
         Bril!l\ lnadmiSSibleAlienj Aiding and Abetting; Criminli!'Fcl'feiture(IOs-lls)




    Dated: 11118/2016
                                                                            ~',kd~
                                                                             ~n~ Ted Moskowitz
                                                                              Uni~d States District Judge
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